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                    UNITED STATES COURT OF APPEALS
                                                                    FILED
                           FOR THE NINTH CIRCUIT
                                                                    OCT 26 2018
                                                                   MOLLY C. DWYER, CLERK
                                                                    U.S. COURT OF APPEALS




  VIRGINIA DUNCAN; et al.,                     No. 17-56081

               Plaintiffs - Appellees,
                                               D.C. No. 3:17-cv-01017-BEN-JLB
   v.                                          U.S. District Court for Southern
                                               California, San Diego
  XAVIER BECERRA, in his official
  capacity as Attorney General of the          ORDER
  State of California,

               Defendant - Appellant.


        The mandate issued on October 24, 2018 is recalled as issued in error.

                                               FOR THE COURT:

                                               MOLLY C. DWYER
                                               CLERK OF COURT

                                               By: Quy Le
                                               Deputy Clerk
                                               Ninth Circuit Rule 27-7
